In this State liability for ad valorem taxes does not depend upon a proper assessment of particular property or of all taxable property. *Page 190 
The Constitution commands the Legislature to provide for a uniform and equal rate of taxation on tangible property, and to prescribe such regulations as shall secure a just valuation of all property, both real and personal, excepting such property as may be exempted by law for municipal, educational, literary, scientific, religious or charitable purposes. Section 1, Article IX, as amended in 1924. See also Section 9, Article IX; Section 16, Article XVI; Sections 897 (697), 898, 899, 903, 1704, 1706, Compiled General Laws.
The statutes provide that all real and personal property in this State, not expressly exempted therefrom, shall be subject to taxation in the manner provided by law. Section 893 (694), Compiled General Laws. All real and personal property shall be subject to taxation on the first day of January of each year, and this statute shall create a lien upon such property for the purposes thereof superior to all others. Section 896 (696), Compiled General Laws.
"All taxes imposed pursuant to the Constitution and laws of this State shall be a first lien superior to all other liens on any property against which such taxes have been assessed which shall continue in force and effect until discharged by payment, and no act of omission or commission on the part of any officer shall operate to defeat the payment of said taxes; but any such acts of omission or commission may be corrected at any time by the officer or party responsible for the same in like manner as is now or may hereafter be provided by law for performing such acts in the first place, and when so corrected they shall be construed as valid ab initio and shall in no way affect any process provided by law for the enforcement of the collection of any such tax. All owners of property shall be held to know that taxes are due and payable thereon annually, and are hereby *Page 191 
charged with the duty of ascertaining the amount of such tax and paying the same before the first day of April of each year; all provisions of law now existing or which may be hereafter enacted relating to the assessment and collection of revenue (unless otherwise specifically so declared) shall be deemed and held to be directory only, designed for the orderly arrangement of records and procedure of officers in enforcing the revenue laws of the State and not primarily for the protection or benefit of the taxpayer; and no assessment, and no sale or conveyance of real or personal property for non-payment of taxes shall be held invalid except upon proof that the property was not subject to taxation, or that the taxes had been paid previous to sale, or that the property had been redeemed prior to the execution and delivery of deed based upon certificate issued for non-payment of taxes." Section 1, Chapter 14572, Acts of 1929.
"The assessment of personal property shall be made separate from the assessment of real estate, but personal property shall be responsible for the taxes on real estate, and real estate shall be responsible for taxes on personal property." Section 913 (711), Compiled General Laws.
"It is hereby made the duty of every person owning or having the control, management, custody, direction, supervision or agency of property of whatsoever character that is subject to taxation under the laws of this State, to return the same for taxation to the county assessor of taxes in the proper county, or to other proper officer, on or before the first day of April of each and every year." Section 917 (715), Compiled General Laws.
"All personal estate liable to taxation, the value of which shall not have been specified under oath as aforesaid, shall be estimated by the county assessor of taxes at its *Page 192 
true cash value, according to his best judgment and information." Section 919 (717), Compiled General Laws.
Whether the complainant's property was duly assessed or not, it was subject to the statutory lien for all ad valorem taxes that were lawfully collectable against the property; and it was the duty of the complainant to make due return of his property for taxation. If complainant duly made his tax return and discovered taxable property of others was not being duly assessed for taxation, with the result that his taxes would thereby be not to a trifling degree but substantially increased, his remedy was upon proper allegations and proofs in an appropriate tribunal, judicial or executive, to require the assessing officers to do their duty. See Liggett Co. v. Lee, Comptroller, 288 U.S. 517 (text 540), 53 Sup. Ct. 481, 77 L. Ed. 929, 85 A. L. R. 699. It was not complainant's privilege to merely call attention of taxing officers to asserted illegal omissions of property from the assessment rolls, and to take no action to enforce his asserted rights until the period for paying taxes had about expired. There was a statutory lien upon his property for all lawful taxes whether properly assessed or not; and even if judicial relief can be had after the period for voluntary payment of taxes had passed, the complainant should show what amount of taxes is lawfully payable and tender it in proper proceedings.
"The purpose of the Statute in requiring property to be assessed at its full cash value is to secure uniformity and equality of burden upon all property in the State as contemplated by the Constitution; and where all taxable property has been assessed on a basis of 50 per cent of its true cash value the purpose of the constitutional provision has not been defeated, and such infraction of the Statute affords *Page 193 
no ground for a court of equity to declare the assessment void." Camp Phosphate Co. v. Allen, 77 Fla. 341.
In this case the taxing unit is the county; and if all taxable property in the county is assessed at the same percentage of its true cash value and such assessment operates to "secure a just valuation of all property" for taxation, within the meaning of the Constitution, the court will not adjudge the assessment to be void, there being no showing by proper parties that the rule of valuation adopted and applied throughout the county would be illegal if not uniformly applied in a larger taxing unit which includes the county.
Rehearing denied.
DAVIS, C. J., and WHITFIELD, ELLIS, TERRELL and BUFORD, J. J., concur.
BROWN, J., absent and not participating because of illness.